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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


FRANCISCO JAVIER GUZMAN CHAVEZ,

                Plaintiff,

        vs.                                                No. 1:19-CV-00341-KRS

ANDREW SAUL, Commissioner of
Social Security Administration,

                Defendant.

                                         JUDGMENT

        Having granted Plaintiff’s Motion to Reverse and Award Benefits or for Rehearing (Doc.

20) in an order entered concurrently herewith, in accordance with Federal Rule of Civil

Procedure 58,

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment is entered

in favor of Plaintiff.


                                            _____________________________________
                                            KEVIN R. SWEAZEA
                                            UNITED STATES MAGISTRATE JUDGE
